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                             UNITED DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


SAMMIE STEVENS                                         Civil Action No.:
                 Plaintiff
  V.

OLLIE’S BARGAIN OUTLET, INC.              Div. Juris 28 U.S.C. § 1332
            Defendant
______________________________________________________________________________
                     COMPLAINT FOR DAMAGES
______________________________________________________________________


        COMES NOW, Sammie Stevens, Plaintiff who files this Original Complaint for

Damages against,

           Ollie’s Bargain Outlet, Inc. and Defendant and shows this Court the following:

                             Statement of Subject Matter Jurisdiction

        Plaintiff, Sammie Stevens is a person of full age and a citizen of the City of Dallas, State

of Texas.

        Plaintiff alleges acts of negligence against:

        First Named Defendant, Ollie’s Bargain Outlet, Inc. foreign corporation founded

and incorporated in the State of Pennsylvania, USA authorized to do and doing business in

Dallas County, State of Texas; and who is at all times responsible for the damages complained

of herein; and thus pursuant to 28 U.S.C., 1332, there exist diversity of citizenship of the

parties.

                                 Federal Jurisdiction and Venue

        Ollie’s Bargain Outlet, Inc. made defendant herein and assumed all the liabilities,

debts, and obligations of and owns and had care custody and control of the Store located at

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municipal address at 2100 N Town East Blvd, Mesquite, Dallas County, State of Texas the location

of the incident made basis of this lawsuit.

       Additionally, the amount in controversy as to each party in this matter exceeds the

jurisdictional limits of this Honorable Court of $75,000.00.

       This Honorable Court has subject matter jurisdiction over this claim which is within

the territorial bounds of this Honorable Court.

       Thus venue is Proper in the United States District Court for the Northern District of

Texas, Dallas Division.

                                              COUNT 1

       Plaintiff alleges premises liability against Defendant, Ollie’s Bargain Outlet, Inc. is a

made, Defendant is liable unto plaintiff for a reasonable sum in the premises, together with legal

interest thereon from date of judicial demand until paid, and for all costs of these proceedings for

the following reasons to wit.

                                                 1.

       On or about April 19, 2020 at 4:30 p.m. Plaintiff, Sammie Stevens was a lawful invitee

and patron of Ollie’s Bargain Outlet, Inc. store located at 2100 N Town East Blvd, Mesquite,

Dallas County, State of Texas.

                                                 2.

       Plaintiff, Sammie Stevens who is 89 years old at the time, was walking around on the

coffee aisle where there was coffee products stacked 6 feet high from the floor when suddenly

unexpectedly without warning a pallet gave way causing plaintiff to trip and fall face first

striking the ground hard and causing serious to her person.




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                                               3.

       Prior to Plaintiff, Sammie Stevens's trip and fall, employees of Defendant, Ollie’s

Bargain Outlet, Inc., and acting within the course and scope of employment purposely created

the maze of Coffee pallets 6 feet high obstructing the pathway in the aisle walkway causing

an unreasonably dangerous condition to lawful invitees, patrons and customers like plaintiff.

                                               4.

       Defendant, Ollie’s Bargain Outlet, Inc. owed a duty of reasonable care to its patrons

and invitees to the aisle way free and clear at the Store located 2100 N Town East Blvd,

Mesquite, Dallas County, State of Texas and was aware of plaintiff’s presence as a patron and

a lawful invitee.

                                               5.

       Defendant owed Plaintiff the duty of reasonable care. Defendant knew or should have

known that maze of pallets created a dangerous condition for customers, invitees and patrons.

                                               6.

       Defendant, Ollie’s Bargain Outlet, Inc. duty of reasonable care was breached when

they failed to foresee the danger posed to customers, invitees and patrons in failing to arrange

the pallets in a safe reasonable manner.

                                               7.

       The subject 6 feet high pallets were known by defendant’s employees and thus

constituting failure on the part of Defendant, Ollie’s Bargain Outlet, Inc. to act with ordinary

care under the theory of respondeat superior thereby making said defendant vicariously

responsible.

                                               8.

       The aforementioned Defendant, Ollie’s Bargain Outlet, Inc. is liable for its own negligence
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for things in its care, custody and control; and for the negligent acts of its employees agents and

representatives;

                                                 9.

       Defendant, Ollie’s Bargain Outlet, Inc. is liable unto Petitioner for its own negligence, the

negligence of its employees, which includes but is not limited to the following:

   a. Failure to take the necessary precautions to avoid the incident made the basis of this

       litigation even after they knew or should have known that the unreasonable placement of

       the pallets obstructing the aisle cause a hazardous conditions;

   b. Failure to make a timely installation of warning signs or postings informing invitees and

       patrons that a hazardous condition existed, and the obstacle therein were not open and

       obvious to patrons, invites and guest as they entered the aisle when gazing from a normal

       look out distance;

   c. Failure to take the necessary precautions to avoid the incident made the basis of this

       litigation even after they knew or should have known;

   d. Failure to make a timely installation of warning signs or postings informing

       invitees       that    a      hazardous        condition     existed;

   e. Failure to exercise reasonable vigilance;

   f. Failure to properly train and educate employees;

   g. Negligent hiring of incompetent employees;

   h. Failure to maintain things in their care, custody, and control;

   i. Any and all other acts of negligence which might be shown at the time of this trial.

                                               11.

       As a result of the aforementioned negligence, Plaintiff, Sammie Stevens slipped and

fell he has seriously injured his lower back, neck and knees requiring, along including cartilage
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damage, pain, and reduced mobility and will suffer permeant impairment and experiences

ongoing and enduring pain that will last a lifetime. These injuries were proximately caused

by negligence of the Defendant in not exercising ordinary care toward a foreseeably dangerous

condition resulting in extensive medical treatment and damages.

                                                 12.

       Plaintiff, Sammie Stevens is entitled to an amount in damages reasonably calculated to

compensate him for injuries he sustained, including but not limited to;

   a. Past, Present and future loss of household services in the past and future.

   b. Past, present and future mental pain, suffering and anguish;

   c. Past, present and future physical pain and suffering and loss of function;

   d. Past, present and future medical expenses;

   e. Loss of enjoyment of life; and

   g. Any and all other damages cognizable by the Constitution of the State of Texas and the

       United States Constitution.

                                                 13.

       Petitioner avers amicable demand to no avail.

                                     PRAYER FOR RELIEF

       WHEREFORE, Petitioner, Sammie Stevens, prays that this Petition be filed and that

Defendant, Ollie’s Bargain Outlet, Inc. be duly cited and served with a copy of same, to appear

and answer same and after all legal delays and due proceedings are had that there be judgment

herein in favor of Petitioner, Sammie Stevens, and against Defendant, Ollie’s Bargain Outlet, Inc.

in an amount reasonably calculated to compensate Petitioner for his damages, together with legal

interest thereon, from date of judicial demand until paid and for all costs of the proceedings and all

general and equitable relief this Honorable Court deem necessary.
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                                                 Respectfully submitted,

                                                 DENNIS SPURLING PLLC
                                                 ATTORNEY AT LAW AND FRIENDS

                                                 /s/Dennis D. Spurling
                                                 ____________________________
                                                 DENNIS D. SPURLING (TB# 24053909)
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                                                 Dallas, Texas 77054
                                                 (713) 229 – 0770 Telephone
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Please Serve:

Ollie’s Bargain Outlet, Inc.
Through Its Agent for Service of Process:
Corporation Services Company
d/b/a CSC-Lawyers Incorporating Services Company
211 East 7th Street, Suite 620
Austin, Texas 78701 – 3218 USA




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